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   8                            UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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   11 AFSHIN SHAHIDI                              Case No. 2:21−cv−08830−MCS−KES

   12                    Plaintiff(s),            ORDER SETTING SCHEDULING
                                                  CONFERENCE
             v.
   13                                             Date:         March 14, 2022
        LIVEONE, INC., et al.                     Time:         10:00 AM
   14                                             Courtroom:    7C
                        Defendant(s).
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   19             READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE
   20          AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
   21          This case has been assigned to Mark C. Scarsi. This matter is set for a
   22    Scheduling Conference on the above date in Courtroom 7C of the First Street
   23    Courthouse, 350 West First Street, Los Angeles, CA, 90012. If plaintiff has not
   24    already served the operative complaint on all defendants, plaintiff promptly shall do
   25    so and shall file proofs of service within three days thereafter. Defendants also shall
   26    timely serve and file their responsive pleadings, and within three days thereafter,
   27    file proofs of service. At the Scheduling Conference, the Court will set a date by
   28    which motions to amend the pleadings or add parties must be heard.


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   1         The Scheduling Conference will be held pursuant to Fed. R. Civ. P. Rule

   2    16(b). The parties are reminded of their obligations under Fed. R. Civ. P. 26(a)(1)

   3    to make initial disclosures without awaiting a discovery request, and under Fed.

   4    R. Civ. P. 26(f) to confer on a discovery plan by 21 days before the Scheduling

   5    Conference. The Court encourages counsel to agree to begin to conduct discovery

   6    actively before the Scheduling Conference. At the very least, the parties shall

   7    comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain

   8    and produce most of what would be produced in the early stage of discovery,

   9    because at the Scheduling Conference the Court will impose strict deadlines to

   10   complete discovery.

   11   I.   Joint Rule 26(f) Report

   12        The Joint Rule 26(f) Report must be filed by 14 days before the Scheduling

   13   Conference. The Report shall be drafted by plaintiff (unless the parties agree

   14   otherwise) but shall be submitted and signed jointly. “Jointly” means a single

   15   report, regardless of how many separately-represented parties there are. The Joint

   16   Rule 26(f) Report shall specify the date of the Scheduling Conference on the

   17   caption page. It shall report on all matters described below, as specified by Fed. R.

   18   Civ. P. 26(f) and Local Rule 26:

   19        a.   Statement of the Case: A short synopsis (not to exceed two pages) of

   20             the main claims, counterclaims, and affirmative defenses.

   21        b. Subject Matter Jurisdiction: A statement of the specific basis of federal

   22             jurisdiction, including supplemental jurisdiction. If there is a federal

   23             question, cite the federal law under which the claim arises.

   24        c.   Legal Issues: A brief description of the key legal issues, including any

   25             unusual substantive, procedural or evidentiary issues.

   26        d. Parties, Evidence, etc.: A list of parties, percipient witnesses, and

   27             key documents on the main issues in the case. For conflict purposes,

   28             corporate parties must identify all subsidiaries, parents, and affiliates.


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   1        e.   Damages: The realistic range of provable damages.

   2        f.   Insurance: Whether there is insurance coverage, the extent of coverage,

   3             and whether there is a reservation of rights.

   4        g. Motions: A statement of the likelihood of motions seeking to add other

   5             parties or claims, file amended pleadings, transfer venue, etc.

   6        h. Dispositive Motions: A description of the issues or claims that any

   7             party believes may be determined by motion for summary judgment.

   8             Please refer to the Standing Order for specific guidelines governing

   9             summary judgment motions.

   10       i.   Manual for Complex Litigation: Whether all or part of the procedures

   11            of the Manual for Complex Litigation should be utilized.

   12       j.   Status of Discovery: A discussion of the present state of discovery,

   13            including a summary of completed discovery.

   14       k. Discovery Plan: A detailed discovery plan, as contemplated by Fed. R.

   15            Civ. P. 26(f). State what, if any, changes in the disclosures under Fed. R.

   16            Civ. P. 26(a) should be made, the subjects on which discovery may be

   17            needed and whether discovery should be conducted in phases or otherwise

   18            be limited, whether applicable limitations should be changed or other

   19            limitations imposed, and whether the Court should enter other orders. A

   20            statement that discovery will be conducted as to all claims and defenses,

   21            or other vague description, is not acceptable.

   22       l.   Discovery Cut-off: A proposed discovery cut-off date. This means the

   23            final day for completion of discovery, including resolution of all

   24            discovery motions.

   25       m. Expert Discovery: Proposed dates for expert witness disclosures (initial

   26            and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

   27       n. Settlement Conference / Alternative Dispute Resolution (“ADR”): A

   28            statement of what settlement discussions have occurred (excluding


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   1             any statement of the terms discussed). If a Notice to Parties of Court-

   2             Directed ADR Program (Form ADR-08) was filed in this case, the

   3             Court will refer it to the magistrate judge, the Court Mediation Panel, or

   4             to private mediation (at the parties’ expense). The parties must indicate

   5             their preference in their Joint Rule 26(f) Report. No case will proceed to

   6             trial unless all parties, including an officer with full settlement authority

   7             for corporate parties, have appeared personally at an ADR proceeding.

   8        o. Trial Estimate: A realistic estimate, in days, of the court time required

   9             for trial and whether trial will be by jury or by court. Each side should

   10            specify (by number, not by name) how many witnesses it contemplates

   11            calling. If the time estimate for trial given in the Joint Rule 26(f) Report

   12            exceeds four court days, counsel shall be prepared to discuss in detail the

   13            basis for the estimate.

   14       p. Trial Counsel: The name(s) of the attorney(s) who will try the case.

   15       q. Independent Expert or Master: Whether this is a case in which the Court

   16            should consider appointing a master pursuant to Fed. R. Civ. P. 53 or an

   17            independent scientific expert. (The appointment of a master may be

   18            especially appropriate if there are likely to be substantial discovery

   19            disputes, numerous claims to be construed in connection with a summary

   20            judgment motion, a lengthy Daubert hearing, a resolution of a difficult

   21            computation of damages, etc.).

   22       r.   Schedule Worksheet: Complete the Schedule of Pretrial and Trial Dates

   23            Worksheet (“Worksheet”) attached to this Order and include it with your

   24            Joint Rule 26(f) Report. For putative class actions, parties should only

   25            complete the Schedule of Class Certification Dates Worksheet and attach

   26            that with the Joint Rule 26(f) Report. The parties MUST submit a

   27            completed Worksheet with their Joint Rule 26(f) Report. The Court

   28            ORDERS the parties to make every effort to agree on dates. The entries


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   1             in the “Weeks Before FPTC” column reflect what the Court believes is

   2             appropriate for most cases and will allow the Court to rule on potentially

   3             dispositive motions sufficiently in advance of the Final Pretial Conference.

   4             The deadlines in the Schedule of Class Certification Dates Worksheet

   5             reflect what the Court believes is most appropriate for putative class

   6             action cases. However, for either worksheet, counsel may propose

   7             earlier last dates by which the key requirements must be completed.

   8             Each date should be stated as month, day, and year, e.g., 10/15/2019.

   9             Hearings shall be on Mondays at 9:00 A.M. Other deadlines (those not

   10            involving the Court) can be any day of the week. Counsel must avoid

   11            holidays. The Court may order different dates from those counsel

   12            propose. Absent compelling circumstances supported by a detailed

   13            explanation presented in the Joint Rule 26(f) Report, the parties must

   14            propose dates such that trial will begin within 18 months of the filing

   15            or removal of the case. This is a firm outside limit. In most cases the

   16            Court will issue a scheduling order bringing the case to trial in fewer

   17            than 18 months. The discovery cut-off date is the last day by which all

   18            depositions must be completed, responses to previously-served written

   19            discovery must be provided, and motions concerning discovery

   20            disputes must be heard. The cut-off date for motions is the last date

   21            on which motions may be heard, not filed. If the parties wish the

   22            Court to set dates in addition to those on the Worksheet, they may so

   23            request by a separate Stipulation and Proposed Order. This is often

   24            appropriate for class actions, patent cases, and cases for benefits under

   25            Employee Retirement Income Security Act of 1974 (“ERISA”).

   26       s.   Other issues: A statement of any other issues affecting the status or

   27            management of the case (e.g., unusually complicated technical or

   28            technological issues, disputes over protective orders, extraordinarily


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   1               voluminous document production, non-English speaking witnesses,

   2               ADA-related issues, discovery in foreign jurisdictions, etc.) and any

   3               proposals concerning severance, bifurcation, or other ordering of proof.

   4          The Joint Rule 26(f) Report should set forth the above-described information

   5    under section headings corresponding to those in this Order.

   6    II.   Scheduling Conference

   7          a.   Continuance: A request to continue the Scheduling Conference will be

   8               granted only for good cause.

   9          b.   Vacating the Scheduling Conference: The Court often vacates the

   10              Scheduling Conference and issues the Scheduling Order based solely on

   11              the Joint Rule 26(f) Report.

   12         c.   Participation: If there is a hearing, lead trial counsel must attend.

   13   III. Notice to be Provided by Counsel

   14         Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel,

   15   shall provide this Order to any parties who first appear after the date of this Order

   16   and to parties who are known to exist but have not yet entered appearances.

   17   IV. Disclosures to Clients

   18         Counsel are ordered to deliver to their clients a copy of this Order and of the

   19   Court’s Order Re: Jury/Court Trial, which will contain the schedule that the Court

   20   sets at the Scheduling Conference.

   21   V. Court’s Website

   22         This and all other generally applicable orders of this Court are available on

   23   the Central District of California website, www.cacd.uscourts.gov.

   24         The Local Rules are also available on the Court’s website.

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   1         Parties appearing pro se must comply with the Federal Rules of Civil

   2     Procedure and the Local Rules. See Local Rule 1-3, 83-2.2.3.

   3         The Court thanks the parties and their counsel for their anticipated

   4     cooperation.

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            IT IS SO ORDERED.
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        Dated: January 19, 2022
   8                                     HONORABLE MARK C. SCARSI
                                         UNITED STATES DISTRICT JUDGE
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                                          JUDGE MARK C. SCARSI
                             SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
                  Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                     The Court ORDERS the parties to make every effort to agree on dates.
     Case No.                              Case Name:


                  Trial and Final Pretrial Conference Dates                   Pl(s)’ Date   Def(s)’ Date   Court Order
                                                                              mm/dd/yyyy    mm/dd/yyyy     mm/dd/yyyy

     Check one:    Jury Trial or   Court Trial                                                               Jury Trial
     (Tuesday at 8:30 a.m., within 18 months after Complaint filed)                                          Court Trial
     Estimated Duration: _______ Days                                                                      ______ Days
     Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions
     In Limine
     (Monday at 2:00 p.m., at least 15 days before trial)


                              Event 1                               Weeks     Pl(s)’ Date   Def(s)’ Date   Court Order
           Note: Hearings shall be on Monday at 9:00 A.M.           Before    mm/dd/yyyy    mm/dd/yyyy     mm/dd/yyyy
              Other dates can be any day of the week.               FPTC

     Last Date to Hear Motion to Amend Pleadings/Add Parties
     [Monday]
     Non-Expert Discovery Cut-Off
     (no later than deadline for filing dispositive motion)             17

     Expert Disclosure (Initial)

     Expert Disclosure (Rebuttal)

     Expert Discovery Cut-Off                                           122
     Last Date to Hear Motions [Monday]
      • Rule 56 Motion due at least 5 weeks before hearing
      • Opposition due 2 weeks after Motion is filed                    12
      • Reply due 1 week after Opposition is filed
     Deadline to Complete Settlement Conference [L.R. 16-15]
      Select one:    1. Magistrate Judge (with Court approval)                                               1. Mag. J.
                    2. Court’s Mediation Panel                          10                                   2. Panel
                    3. Private Mediation                                                                     3. Private

     Trial Filings (first round)
      • Motions in Limine
      • Memoranda of Contentions of Fact and Law [L.R. 16-4]
      • Witness Lists [L.R. 16-5]
      • Joint Exhibit List [L.R. 16-6.1]
      • Joint Status Report Regarding Settlement                        3
      • Proposed Findings of Fact and Conclusions of Law
        [L.R. 52] (court trial only)
      • Declarations containing Direct Testimony (court trial
        only)
     Trial Filings (second round)
      • Oppositions to Motions In Limine
      • Joint Proposed Final Pretrial Conference Order
         [L.R. 16-7]
      • Joint/Agreed Proposed Jury Instructions (jury trial only)
      • Disputed Proposed Jury Instructions (jury trial only)
      • Joint Proposed Verdict Forms (jury trial only)                  2
      • Joint Proposed Statement of the Case (jury trial only)
      • Proposed Additional Voir Dire Questions, if any (jury
        trial only)
      • Evidentiary Objections to Decls. of Direct Testimony
        (court trial only)
 1    The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order.
      Patent and ERISA cases in particular may need to vary from the above.
 2    The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.




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                                         JUDGE MARK C. SCARSI
                    SCHEDULE OF CLASS CERTIFICATION DATES WORKSHEET
        For class actions, the Court will first set class certification dates and discovery dates.
   The Court will defer setting any other dates until class certification is resolved. Absent
   extraordinary circumstances, the Court will not bifurcate class discovery from merits
   discovery

        The Court ORDERS the parties to make every effort to agree on dates.
                     Class Certification                                Date           Court Order
           Note: Hearings shall be on Monday at 9:00 A.M.             mm/dd/yyyy       mm/dd/yyyy
               Other dates can be any day of the week.

   Non-Expert Discovery Cut-Off
    • Set no later than 13 months from the date of the filing
      of the Complaint


   Expert Disclosure (Initial)


   Expert Disclosure (Rebuttal)

   Expert Discovery Cut-Off
    • Set no later than 14 months from the date of the filing
      of the Complaint

   Deadline to File a Motion for Class Certification
    • Set no later than 4 months from the Scheduling
      Conference

   Deadline to File an Opposition to the Motion for Class
   Certification
    • Set no later than 3 weeks from the filing of the Motion
      for Class Certification

   Deadline to File a Reply
    • Set no later than 3 weeks from the filing of the
      Opposition

   Hearing Date on Motion for Class Certification
    • Set no later than 3 weeks from the filing of the Reply




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